    Case: 1:21-cv-05783 Document #: 85 Filed: 10/03/22 Page 1 of 3 PageID #:1357




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CAROLYN PLACHT, on behalf of the ) Case No.: 1:21-cv-05783
Symbria Inc. Employee Stock Ownership )
Plan, et al.,                         ) Hon. Ronald A. Guzman
                                      )
              Plaintiff,              )
                                      )
       -v-                            )
                                      )
ARGENT TRUST COMPANY, et al. ,        )
                                      )
              Defendants.             )
                                      )
                                      )


    JOINT NOTICE OF RESOLUTION OF DISCOVERY DISPUTE OF PLAINTIFF
                        CAROLYN PLACHT AND
           DEFENDANTS JILL KRUEGER AND THOMAS NOESEN, JR

       Plaintiff Carolyn Placht (“Plaintiff”) and Defendants Jill Krueger (“Krueger”) and Thomas

Noesen, Jr. (“Noesen”) (collectively, “Defendants”), file this Joint Notice to inform the Court that

they have reached agreement resolving the discovery disputes raised in Plaintiff’s Motion to

Compel (ECF No. 80) (the “Motion”), making it moot.

       As a part of the agreement resolving these disputes, Defendants have agreed to produce

two categories of documents previously withheld from production and listed on their privilege log.

These categories are: (1) documents and communications exchanged between the Symbria, Inc.

(“Symbria”) Board of Directors and its committees and members (the “Board”) and its counsel,

Krieg DeVault LLP (“KD”), on the one hand, and Defendants or their representatives on the other

pertaining to management’s compensation and interests including salary, deferred compensation,

bonuses, their equity incentive plan, SARs, warrants, treatment of management’s notes, Board

composition post ESOP Transaction, and related issues; and (2) documents and communications
   Case: 1:21-cv-05783 Document #: 85 Filed: 10/03/22 Page 2 of 3 PageID #:1358




exchanged between the Board and/or KD, on the one hand, and Defendants and/or Symbria’s,

counsel (Holland & Knight, LLP) and/or financial advisor (Verit Advisors), on the other, prior to

the engagement of Argent Trust Company as ESOP Trustee on May 27, 2015. A log of the

documents Defendants will produce pursuant to this agreement is attached as Exhibit 1.

       Defendants will produce the documents identified on Exhibit 1 within 10 days of a Court

order denying the Plaintiff’s Motion as moot. Plaintiff and Defendants will serve a copy of this

filing reflecting the compromise agreement and accompanying log of documents on counsel for

all current and former parties to this case, and Krieg DeVault LLP.

       In accordance with the agreement outlined above and resolution of the disputes

necessitating the Motion, the Parties request that Plaintiff’s Motion to Compel (ECF No. 80) be

denied as moot.




                                              -2-
    Case: 1:21-cv-05783 Document #: 85 Filed: 10/03/22 Page 3 of 3 PageID #:1359




Dated: October 3, 2022                             Respectfully submitted,


/s/ Patrick O. Muench                              /s/ Michael L. Scheier
Patrick O. Muench                                  Michael L. Scheier (0055512)
318 W. Adams Street                                Brian P. Muething (0076315)
Suite 1512                                         Jacob D. Rhode (0089636)
Chicago, IL 60606                                  KEATING MUETHING & KLEKAMP PLL
Telephone: (312) 500-8680                          One E. 4th Street, Suite 1400
Facsimile: (304) 342-1110                          Cincinnati, OH 45202
pmuench@baileyglasser.com                          Tel: (513) 579-6400
                                                   Fax: (513) 579-6457
Ryan T. Jenny                                      mscheier@kmklaw.com
Gregory Y. Porter (pro hac vice to be filed)       bmuething@kmklaw.com
1055 Thomas Jefferson Street, NW                   jrhode@kmklaw.com
Suite 540                                          Attorneys for Defendants Jill Krueger and
Washington, DC 20007                               Thomas Noesen, Jr.
Telephone: (202) 463-2101
Facsimile: (202) 463-2103                          and
rjenny@baileyglasser.com
gporter@baileyglasser.com                          Ross D. Taylor (6198181)
                                                   KEATING MUETHING & KLEKAMP PLL
Attorneys for Plaintiff                            125 S. Clark St., 17th Floor
                                                   Chicago, IL 60603
                                                   Attorney for Defendants Jill Krueger and
                                                   Thomas Noesen, Jr.

                                    CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2022, the foregoing Joint Notice was electronically filed

using the CM/ECF system, which will send notification of such filing to all registered participants.

Additionally, the foregoing was served via electronic mail on the following:

       Mark J.R. Merkle
       General Counsel
       Krieg DeVault LLP
       12800 North Meridian Street Suite 300
       Carmel, IN 46032
       (317) 238-6219
       generalcounsel@kdlegal.com


                                                     /s/ Michael L. Scheier
                                                     Michael L. Scheier
       12073256.1




                                               -3-
